            Case 1:21-cr-00303-JLT-SKO Document 56 Filed 06/20/23 Page 1 of 2

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   United States of America
 6

 7                              IN THE UNITED STATES DISTRICT COURT

 8                                 EASTERN DISTRICT OF CALIFORNIA

 9
     UNITED STATES OF AMERICA,
10                                                     CASE NO. 1:21-CR-00303
                            Plaintiff,
11
                                                       MOTION AND ORDER TO UNSEAL
12            v.                                       INDICTMENT

13   MIRNA MEDINA,
                            Defendant.
14

15          The Indictment in this case, having been sealed by Order of the Court on December 9, 2021, and
16 it appears it no longer need remain secret,

17          The United States of America, by and through Phillip A. Talbert, United States Attorney, and
18 Stephanie M. Stokman, Assistant United States Attorney, hereby moves that the Indictment in this case

19 be unsealed and made public record.

20
     Dated: June 20, 2023                                  PHILLIP A. TALBERT
21                                                         United States Attorney
22

23                                                  By: /s/ Stephanie M. Stokman
                                                        STEPHANIE M. STOKMAN
24                                                      Assistant United States Attorney
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      MOTION AND PROPOSED ORDER TO UNSEAL              1
           Case 1:21-cr-00303-JLT-SKO Document 56 Filed 06/20/23 Page 2 of 2

 1                        IN THE UNITED STATES DISTRICT COURT FOR THE

 2                                EASTERN DISTRICT OF CALIFORNIA

 3
     UNITED STATES OF AMERICA,
 4                                                  CASE NO. 1:21-CR-00303
                                Plaintiff,
 5
                          v.                        ORDER TO UNSEAL INDICTMENT
 6
     MIRNA MEDINA,
 7
                                Defendant.
 8

 9

10         Pursuant to the motion by the United States, IT IS HEREBY ORDERED that the Indictment
11 filed on December 9, 2021 be unsealed and become public record.

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13
           June 20, 2023                              /s/ Barbara A. McAuliffe
14 DATED: _____________                              _______________________________
                                                     HON. BARBARA A. MCAULIFFE
15                                                   U.S. MAGISTRATE JUDGE

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      MOTION AND PROPOSED ORDER TO UNSEAL           2
